Case 9:24-cr-80116-AMC Document 63 Entered on FLSD Docket 10/24/2024 Page 1 of 14




                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 24-80116-CR-CANNON

  UNITED STATES OF AMERICA,

        Plaintiff,

  v.

  RYAN WESLEY ROUTH,

        Defendant.
  ____________________________________/

       RESPONSE TO GOVERNMENT’S MOTION FOR A PROTECTIVE ORDER

        On October 16, 2024, the day before the extended discovery deadline, the

  government filed a Motion for Protective Order regarding all discovery materials. 1

  [DE 43]. The proposed order imposes a complete restriction on Mr. Routh’s ability to

  “maintain discovery materials at the Federal Detention Center or other jail facility

  without defense counsel present to prevent the purposeful or unintentional

  dissemination of discovery.” [DE 43-1]. The proposed order also imposes various other

  restrictions on defense counsel and members of the defense team. The protective

  order does not restrict the government’s dissemination of discovery materials in any

  capacity. Id. at 2. This one-sided, blanket protective order covering every item of

  discovery is overbroad, unduly burdensome on the defense, and unsupported by legal

  authority. Meanwhile, it would deprive Mr. Routh of his constitutional right to

  meaningfully participate in his own defense under the Fifth and Sixth Amendments,



  1 As of filing, defense counsel has not received a copy of the discovery.
Case 9:24-cr-80116-AMC Document 63 Entered on FLSD Docket 10/24/2024 Page 2 of 14




  as well as his right to free speech under the First Amendment. The Court should

  instead impose a more tailored protective order like those adopted in similar cases.

        I.     The Protective Order is Overbroad.

        The federal discovery rules do not permit the government to obtain a blanket

  protective order against Mr. Routh’s possession of any and all discovery materials.

        1.     As the party seeking the protective order, the government bears the

  burden to establish “good cause” for any restriction. Fed. R. Crim. P. 16(d)(1); see also

  Fed. R. Civ. P. 26(c); Chicago Tribune Co. v. Bridgestone/Firestone, Inc., 263 F.3d

  1304, 1313 (11th Cir. 2001). While Rule 16(d)(1) “articulates a single standard for

  ruling on a protective order motion, that of ‘good cause,’ the federal courts have

  superimposed a somewhat more demanding balancing of interests approach to the

  Rule.” Farnsworth v. Procter & Gamble Co., 758 F.2d 1545, 1547 (11th Cir. 1985).

        In determining whether the government has met its burden, the Court must

  generally balance the government’s need for the restriction sought with the prejudice

  that would result if the restriction were imposed. See In re Alexander Grant & Co.

  Litig., 820 F.2d 352, 356 (11th Cir. 1987) (“this court has identified four factors for

  ascertaining the existence of good cause which include: [1] the severity and the

  likelihood of the perceived harm; [2] the precision with which the order is drawn; [3]

  the availability of a less onerous alternative; and [4] the duration of the order.”)

  (quotation omitted); see also ABA Criminal Justice Standards on Discovery

  Regarding Protective Orders, Standard 11-6.2(b).


                                             2
Case 9:24-cr-80116-AMC Document 63 Entered on FLSD Docket 10/24/2024 Page 3 of 14




        As to the government’s need for the restriction, it must “show[ ] that disclosure

  will work a clearly defined and serious injury to the party seeking closure. The injury

  must be shown with specificity. Broad allegations of harm, unsubstantiated by

  specific examples or articulated reasoning, do not support a good cause showing.”

  Pansy v. Borough of Stroudsburg, 23 F.3d 772, 786 (3rd Cir. 1994) (quotation

  omitted). Where the government simply conveys a “bald statement” that an

  “insubstantial showing of need to warrant a protective order under Rule 16(d)(1),” it

  has not met its burden to show “good cause.” United States v. Nelson, 486 F. Supp.

  464, 480 (W.D. Mich. 1980); see United States v. Smith, 985 F.Supp.2d 506, 523

  (S.D.N.Y. 2013) (“conclusory arguments” do not justify a protective order).

        As to the prejudice from any discovery restrictions, the Eleventh Circuit has

  recognized that, even in the civil context, “trial preparation and defense . . . are

  important interests, and great care must be taken to avoid their unnecessary

  infringement.” Farnsworth, 758 F.2d at 1547. More generally, courts should issue a

  protective order only if the potential harm of disclosure is greater than the prejudice

  caused by the proposed protection, and it should impose only those restrictions that

  are reasonable and necessary in relation to an articulated harm. In other words, a

  protective order should be “no broader than is necessary” to serve its intended

  purpose. United States v. Lindh, 198 F.Supp.2d 739, 742 (E.D. Va. 2002).

        2.     In this case, the protective order sought is overbroad on its face. The

  government’s proposed protective order is an all-encompassing prohibition on Mr.


                                            3
Case 9:24-cr-80116-AMC Document 63 Entered on FLSD Docket 10/24/2024 Page 4 of 14




  Routh from possessing any and all discovery materials outside the presence of

  counsel. The government does not provide any specificity about which discovery

  materials (or categories of materials) would implicate the government’s concerns.

  Instead, it seeks to restrict him from possessing all discovery outside the presence of

  counsel. To justify this sort of “umbrella” protective order, the government bears “the

  burden of justifying the confidentiality of each and every document sought to be

  covered by a protective order remains on the party seeking the protective order.”

  Cipollone v. Liggett Group, Inc., 785 F.2d 1108, 1122 (3d Cir. 1986).

        The government does not even attempt to meet that heavy burden. Rather, the

  government’s justification for the protective order is based on general claims that the

  discovery is voluminous, contains “sensitive” information regarding the ongoing

  investigation, and contains personal identifying information (PII) of civilian

  witnesses and law enforcement agents. To be clear, the defense has no objection to a

  tailored protective order restricting the dissemination of PII. However, the defense

  objects to a blanket restriction based on the voluminous nature of discovery as well

  as “sensitive” information. As explained below, the voluminous nature of the

  discovery weighs against, not in favor, a blanket protective order. And the

  government does not explain why the Court could not issue a protective order that is

  limited to specific categories of truly sensitive documents (e.g., medical records).

        Moreover, it is not uncommon for federal criminal investigations to involve

  voluminous discovery containing PII and other “sensitive” information. Remarkably,


                                             4
Case 9:24-cr-80116-AMC Document 63 Entered on FLSD Docket 10/24/2024 Page 5 of 14




  however, the government cites no authority supporting a blanket protective order

  merely because the discovery has those characteristics. Indeed, the government cites

  no authority at all supporting a blanket protective order that prohibits a criminal

  defendant from accessing the discovery in his own case without defense counsel.

        The only other basis for the government’s request is “to prevent the improper

  dissemination of the discovery materials to influence the public’s perception of the

  matter or unduly interfere with the proper administration of justice.” [DE 43:4].

  Ironically, however, it is the government that has been disseminating information to

  influence the public’s perception of this case. Public statements have been made only

  by the Government, including the DOJ, FBI, and Secret Service. 2 Indeed, the same

  prosecutor who filed the motion for a protective order here wrote about discovery and

  published photographs and a letter in support of pre-trial detention [DE 14], making




  2 The Department of Justice issued two press releases about this case. See Ryan
  Wesley Routh Indicted for Attempted Assassination of Former President Trump,
  September 24, 2024 https://www.justice.gov/opa/pr/ryan-wesley-routh-indicted-
  attempted-assassination-former-president-trump; Suspect at Trump International
  Golf Course Charged with Firearms Offenses, September 16, 2024,
  https://www.justice.gov/opa/pr/suspect-trump-international-golf-course-charged-
  firearms-offenses. The Secret Service Acting Director Ronald Rowe held a press
  conference on September 16, 2024. See https://apnews.com/video/donald-trump-u-s-
  secret-service-ron-rowe-shootings-assassinations-
  215b9c19aad44cfbb2de9f8c05f05d8a.
  The Secret Service also issued a Statement on September 15, 2024. See
  https://www.secretservice.gov/newsroom/releases/2024/09/secret-service-statement-
  regarding-september-15-2024-security-incident. And the FBI issued a statement on
  September 15, 2024, https://www.fbi.gov/news/press-releases/fbi-statement-on-
  incident-in-west-palm-beach-florida.


                                           5
Case 9:24-cr-80116-AMC Document 63 Entered on FLSD Docket 10/24/2024 Page 6 of 14




  that information available to the general public and thereby undermining that

  purported concern here. “Legal trials are not . . . won through the use of the meeting-

  hall, the radio, and the newspaper.” Bridges v. State of Cal., 314 U.S. 252, 271 (1941).

        Meanwhile, even if the government had some interest in preventing the

  dissemination of certain information, that interest cannot possibly extend to the

  entire corpus of discovery. While undersigned counsel still has not yet been received

  the discovery materials, the government has advised that it involves at least 5.5

  terabytes of electronic discovery—a massive amount of information. [DE 49:7]. And

  the discovery likely includes all of Mr. Routh’s digital property. So, for example, were

  he to publish a photo of his family or a personal trip he took abroad, that would likely

  be “publishing” part of discovery. So too if he were to publish any political thoughts

  or opinions he has previously written, including in one of his books. None of this

  dissemination would necessarily be improper or adversely impact the fair

  administration of justice.

        3.     The defense submits that the standard protective order negotiated

  between the Federal Public Defender’s Office in the District of Columbia and the

  Department of Justice for January 6th prosecutions is an example of a properly

  limited protective order. One such example is attached as Exhibit A. Similar to this

  case, the January 6th cases are high-publicity cases, they consist of approximately 11

  terabytes of discovery, and the discovery contains sensitive information. Even then,

  however, the standard order permits defendants to possess copies of their discovery


                                             6
Case 9:24-cr-80116-AMC Document 63 Entered on FLSD Docket 10/24/2024 Page 7 of 14




  either at home or at the jail, with the only exception being discovery that is marked

  “highly sensitive.” The defendants may possess materials marked “sensitive,” but

  those discovery materials may not be disseminated. Furthermore, the government is

  restricted from marking materials as “highly sensitive” or “sensitive” unless they

  meet delineated categories, such as materials that consist of PII, medical information,

  tax information, “security information” pursuant 2 U.S.C. § 1979, etc.... For reasons

  that are unclear, however, the government would not agree to a similar protective

  order in this case. Making matters worse, the government’s overbroad protective

  order would infringe Mr. Routh’s constitutional rights, as explained below.

        II.    The Protective Order Infringes Mr. Routh’s Fifth and Sixth Amendment
               Rights to Prepare his Defense.

        “Due process dictates that an indictment afford a defendant notice of the

  charges so that the defendant can prepare an adequate defense.” United States v.

  Alvarez-Moreno, 874 F.2d 1402, 1410 (11th Cir. 1989). Carrying that idea forward,

  “[t]he Sixth Amendment right to counsel guarantees a defendant . . . a sufficient time

  within which to prepare a defense.” United States v. Baker, 432 F.3d 1189, 1248 (11th

  Cir. 2005) (quotation omitted); United States v. Verderame, 51 F.3d 249, 252 (11th

  Cir. 1995). To do so, a defendant must be afforded the opportunity to communicate

  with counsel. See id.; Avery v. Alabama, 308 U.S. 444, 446 (1940) (requiring the

  defendant to be afforded a meaningful opportunity to confer and consult with counsel

  to prepare his defense); United States v. Schlei, 122 F.3d 944, 988 (11th Cir. 1997)

  (finding that the “fairness of the entire system” is in question when the defendant

                                            7
Case 9:24-cr-80116-AMC Document 63 Entered on FLSD Docket 10/24/2024 Page 8 of 14




  cannot adequately prepare). Indeed, the Eleventh Circuit has reversed a defendant’s

  conviction when he could not confer with counsel about documents that the defendant

  needed to prepare his testimony outside of brief, in-court review sessions. United

  States v. Cavallo 790 F.3d 1202, 1215-16 (11th Cir. 2015); see Geders v. United

  States, 425 U.S. 80, 88 (1976) (“the role of counsel is important precisely because

  ordinarily a defendant is ill-equipped to understand and deal with the trial process

  without a lawyer’s guidance.”). Thus, before issuing any protective order, “courts

  should weigh the impact this might have on a defendant’s [constitutional] right to

  prepare and present a full defense at trial.” Lindh, 198 F.Supp.2d at 742.

        The government’s proposed protective order—preventing Mr. Routh from

  accessing any discovery outside the presence of counsel—fails to properly account for

  his constitutional right to assist in the preparation of his own defense. Although the

  government has not yet provided discovery, it has represented that the discovery is

  so incredibly voluminous (with electronic discovery alone at 4,000 terabytes) that the

  case should be designated “complex.” [DE 30:2]. In the government’s First Response

  to the Standing Discovery Order, it represented that, “upon entry of a protective

  order, the Government will produce” enumerated items in subsection A5, which are

  “250 gigabytes of data” and 70 electronic devices of approximately 5.5 terabytes of

  data. [DE 49:2-7]. Without reviewing the discovery, it is impossible to determine how

  long it will take to review the materials. Reviewing any terabyte of discovery is

  onerous. Just one terabyte of information is the equivalent of 250,000 photos taken


                                            8
Case 9:24-cr-80116-AMC Document 63 Entered on FLSD Docket 10/24/2024 Page 9 of 14




  with a 12MP camera, or 250 movies or 500 hours of HD video, or 6.5 million document

  pages, commonly stored as Office files, PDFs, and presentations. How much is 1 TB

  of storage?, Dropbox, https://www.dropbox.com/features/cloud-storage/how-much-is-

  1tb. One terabyte of information is also equivalent to 1,300 physical filing cabinets of

  paper. Id.

        If Mr. Routh cannot review discovery outside the presence of counsel, then it

  will be impossible for him and counsel to prepare a defense in a timely manner. The

  voluminous nature of the discovery is exacerbated by the fact that Mr. Routh is

  housed at the Federal Detention Center (FDC) in Miami, while defense counsel are

  located in Ft. Pierce and West Palm Beach. (After all, this is a West Palm Beach

  Division case, and this Court is located in Ft. Pierce). Specifically, FDC is located at

  33 NE 4th St. in Miami, which is approximately 134 miles south of the Ft. Pierce

  Courthouse, located at 101 South U.S. Highway. This distance requires

  approximately a half day of travel just for counsel to physically visit Mr. Routh.

        Given the anticipated amount of discovery, it would be logistically impossible

  for counsel to take consistent trips to Miami just to show and review any aspect of

  the discovery with Mr. Routh. He requests time to read the anticipated reports and

  other information, the same time given to any federal criminal defendant, in order to

  understand his own case and assist in the defense. Requiring all discovery review to

  take place “in the presence of counsel” imposes significant restrictions on the manner

  in which counsel can prepare and litigate this case. Instead of preparing the case for


                                             9
Case 9:24-cr-80116-AMC Document 63 Entered on FLSD Docket 10/24/2024 Page 10 of 14




   trial, undersigned counsel would be forced to review the discovery at the jail with Mr.

   Routh. Importantly, undersigned counsel is also restricted from bringing computers

   and other devices into FDC, such that their ability to review the discovery with

   Mr. Routh and/or prepare for trial is limited inside of the federal detention facility.

         III.   The Protective Order Infringes Mr. Routh’s First Amendment Right to
                Free Speech.

         The government’s proposed protective order would also unnecessarily infringe

   Mr. Routh’s First Amendment right to free speech. As discussed, the voluminous

   discovery in this case likely includes all of Mr. Routh’s personal, digital property.

   That will include all of his previous political opinions, messages, and expression. The

   government’s proposed protective order would thus prevent him from disseminating

   his own property expressing political speech at the core of the First Amendment.

          Although the government’s motion references Mr. Routh’s political

   expression, it does not address the First Amendment implications of its protective

   order. Instead, the government emphasizes that “the purpose of discovery is trial

   preparation and that information provided pursuant to the order is to be used only

   for that purpose.” [DE 43:3]. But the government’s overbroad protective order will

   frustrate rather than facilitate that purpose because, as explained above, the defense

   cannot adequately prepare for trial if the voluminous discovery can be reviewed by

   Mr. Routh only when he is physically accompanied by defense counsel.

         In any event, the government incorrectly suggests that there are no First

   Amendment implications when it comes to discovery materials. In Seattle Times Co.

                                              10
Case 9:24-cr-80116-AMC Document 63 Entered on FLSD Docket 10/24/2024 Page 11 of 14




   v. Rhinehart, 467 U.S. 20 (1984), a civil case, the Supreme Court rejected a First

   Amendment right to disseminate discovery, but the Court emphasized that the

   information in question was gained “only by virtue of the trial court’s discovery

   process.” Id. at 32. Recognizing that the protective order in that case still “implicates

   the First Amendment rights of the restricted party,” the Court emphasized that “the

   party may disseminate the identical information covered by the protective order as

   long as the information is gained through means independent of the court’s

   processes.” Id. at 34. The Court reiterated that important caveat in its holding. See

   id. at 37 (“hold[ing] that where, as in this case, a protective order is entered on a

   showing of good cause as required by Rule 26(c), is limited to the context of pretrial

   civil discovery, and does not restrict the dissemination of the information if gained

   from other sources, it does not offend the First Amendment”) (emphasis added).

         The government’s protective order in this case extends beyond that holding. It

   would impermissibly restrict Mr. Routh from disseminating his own property

   expressing political speech based solely on the fact that this property is now included

   in the government’s discovery. The government cites no case law to support this

   restriction or otherwise square it with the First Amendment. Meanwhile, the

   standard protective orders entered in the January 6th prosecutions notably exempt

   “materials that were derived directly from Defendant.” See, e.g., Exhibit A at 5.

         In effect, the government’s protective order is tantamount to a request for a

   gag order that would bar Mr. Routh from communicating with the press about his


                                              11
Case 9:24-cr-80116-AMC Document 63 Entered on FLSD Docket 10/24/2024 Page 12 of 14




   discovery. But “court orders restraining speech about an ongoing criminal proceeding

   are presumptively unconstitutional.” United States v. Trump, 88 F.4th 990, 1004

   (D.C. Cir. 2023). And there are specific factors that must be considered before such

   prior restraints may be imposed. See, e.g., Nebraska Press Association v. Stuart, 427

   U.S. 539, 547 (1976) (analyzing “(a) the nature and extent of pretrial news coverage;

   (b) whether other measures would be likely to mitigate the effects of unrestrained

   pretrial publicity; and (c) how effectively a restraining order would operate to prevent

   the threatened danger [of an unfair trial for defendant]”). The Government cannot

   circumvent this analysis under the guise of a sweeping protective order. And any

   order restricting the right of free expression protected by the First Amendment “must

   be couched in the narrowest terms that will accomplish the pin-pointed objective

   permitted by constitutional mandate and the essential needs of the public order. In

   this sensitive field, the State may not employ means that broadly stifle fundamental

   personal liberties when the end can be more narrowly achieved.” Carroll v. President

   & Com’rs of Princess Anne, 393 U.S. 175, 183 (1968) (quotation omitted). The

   government’s overbroad protective order flouts rather than respects that principle.




                                             12
Case 9:24-cr-80116-AMC Document 63 Entered on FLSD Docket 10/24/2024 Page 13 of 14




                                     CONCLUSION

         The Court should deny the government’s motion for a proposed protective order

   that is overbroad and unnecessarily infringes Mr. Routh’s constitutional rights.


   Respectfully submitted,

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                                            13
Case 9:24-cr-80116-AMC Document 63 Entered on FLSD Docket 10/24/2024 Page 14 of 14




                              CERTIFICATE OF SERVICE

         I hereby certify that on October 24, 2024, I electronically filed the foregoing

   document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

   document is being served this day on all counsel of record via transmission of Notices

   of Electronic Filing generated by CM/ECF or in some other authorized manner for

   those counsel or parties who are not authorized to receive electronically Notices of

   Electronic Filing.


                                          s/ Kristy Militello
                                          Kristy Militello




                                            14
